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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

KHALIL HARBIN,                                     )
                                                   )
        Plaintiff,                                 )
                                                   )
v.                                                 )   Cause No. 4:20-cv-01596-CDP
                                                   )
CITY OF BRECKENRIDGE HILLS, et al.,                )
                                                   )
        Defendants.                                )

             JOINT MOTION TO MODIFY THE CASE MANAGEMENT ORDER

        The parties jointly move to modify the Case Management Order in this case. In support of

this motion, the parties state:

        1.      On January 11, 2022, the Court entered an amended Case Management Order. The

parties have been engaged in discovery and have chosen a neutral for mediation. Howver, because

of a variety of factors including issues that have arisen during discovery, a pending trial for defense

counsel, a COVID diagnosis for plaintiff’s counsel, and the press of other business, the parties

need to modify the current deadlines.

        2.      The parties proposed the following new deadlines:

                a.      Plaintiffs’ supplemental expert witnesses and reports shall be disclosed no

                        later than June 1, 2022; Plaintiffs’ expert witnesses shall be made available

                        for deposition no later than July 15, 2022. Defendants’ experts and reports

                        shall be disclosed no later than September 1, 2022; Defendants’ expert

                        witnesses shall be made available for deposition no later than October 17,

                        2022. Rebuttal experts and reports shall be provided no later than

                        November 15, 2022, and rebuttal experts shall be made available for



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                          deposition no later than December 15, 2022.

               b.         If physical examinations of Plaintiff are requested, the requests shall be

                          made by July 15, 2022, and the examinations shall be completed by August

                          15, 2022.

               c.         All discovery to be completed by January 16, 2023.

               d.         Any dispositive motions or Daubert motions will be filed by February 15,

                          2023.

       2.      The parties request the following schedule for mediation:

               a.         Designation of Neutral/Conference report due by August 1, 2022.

               b.         Completion of ADR by September 1, 2022.

               c.         ADR Compliance Report Deadline due by September 15, 2022.

       3.      The earliest possible date by which this case should reasonably be expected to be

ready for trial is June 19, 2023.

       4.      The estimated length of time expected to try the case to verdict is 4-5 days.



KHAZAELI WYRSCH LLC                                    REICHARDT NOCE LLC

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